Case 1:21-cv-00129-RJS Document 10-7 Filed 12/28/21 PageID.171 Page 1 of 9
    Case 1:21-cv-00129-RJS Document 10-7 Filed 12/28/21 PageID.172 Page 2 of 9


                     ABREU, ANGEL CHRISTOPHER #56119
                     Alerts: DENTAL CONSENT

                                                  Ond: Malo (He/Him/His)    Sox: M                 NKMA
                                                  008: 02121/1996           Ago: 25
                     09/20/2018 04:59


                                              Full Patient History

                                                 Full Patient History

                                        09/26/2020 00:00 .. 10/05/2020 00:00
Encounters

Encounter:                                                          Medical Doctor encounter with MD


Provider:                                                           MD

Created By


SOA:


Form:
                                                                    -
                                                                    1 Doctor

Status:                                                             Saved


Created                                                             09/28/2020 09:58

Last Saved                                                          09/28/2020 09:59


Subjective
Chief Complaint



Provider Narrative




Objective
Vltals


                  8P            HR        Resp      Tomp               Weight             Holghl




Physical exam




Assessment
                                                                                                       INMATE COPY'
       Case 1:21-cv-00129-RJS Document 10-7 Filed 12/28/21 PageID.173 Page 3 of 9


Diagnosis




Plan
Non-Actionable Notes




Education
Educational Review




Encounter:                                                              Medical Doctor encounter with APRN

Provider:                                                               APRN

Created Sy


SOA:
                                                                        •
Form:                                                                   1 Doctor

Status:                                                                 Saved


Created                                                                 10/02/2020 08:02


Last Saved                                                              10/02/2020 08:06


Subjective
Chief Complaint

"Both my wrist lost circulation for a really long time when tho Co's cuffed me on 9/26/2020. now I
can't brush my teeth or write this without thomhurtlng. Both my thumbs and wrists are numb and
the feeling won't come back, Was told I was on the list on monday and tuHday and I haven't been
li~~!:LYl:l.t'.'..!Wa.1:1_ sch.ed.uled 01\ W~dnHday, but was ne>t seen due to being out to court.,)

 Provider Narrative

 Ho Is having some paraestheslas due to handcuffs being applied, he has not taken the IBU


 Objective
 Vitals


    Pos               BP      HR          Resp            Temp             Weight              Height        BMI




 Physical exam
    Case 1:21-cv-00129-RJS Document 10-7 Filed 12/28/21 PageID.174 Page 4 of 9



Assessment
Diagnosis

paraestheslas both hands



Plan
Non-Aotlonable Notes




Education
Educational Review




No Nurse Encounters

No Dentist Encounters

No LCSW Encounters

No APRN Encounters

No PA Encounters




                                                            INMATE (~OPY
Case 1:21-cv-00129-RJS Document 10-7 Filed 12/28/21 PageID.175 Page 5 of 9




         Davis


                                                                                               -
         800 West State Street

         Telephone                                                 Fax


         ABREU, ANGEL CHRISTOPHER


         -
         398403



                                         !led and stated that tha CERT team would be coming Into the jail tonight lo move
                                                        b cau a he had b r cad ad hlmselr In his room. Per Jail commander,
                                                                             odey and this Is what caused hi$ behavior. I
                   responded wit t e R team for medlca care. nmate had flooded his cell with water, commissary
           Madlaal Items, coffee, etc, end covered his window with his towel. Al 1916 CERT team antarad the cell after he
                   would not comply and put inmate In wffs, As they were attempting to cuff him, Sgt. ·•·yatlad
                   for EMS to be activated. At 1916 l called over the radio to Jail commander to activate EMS. Upon
                   further assessment, Inmate had a laceration on his abdomen. Oue to the naturo of the Incident, a
                   thorough assessment could not be performed but ii looked obvious that the lacerallon needed sutures
                   at the least. Inmate was screaming and yelling durlng this time and stating that his stomach and tags
                   hurt. Inmate was carried from his cell and placed in prone position on the stretcher. Ha continued to
                   scream and yell as he was taken to - o meat EMS. In route to.attempted to place.a
                   and form a pressure bandage on tholiicliiT"on. Inmate was taken to             t EMS met us in the
                     !l1s Cara was than passed to lhem. At ap rox. 1938 EMS left the                In route to Davis Hospital
                            was a possible trauma, At approx. f130, Inmate returned from a ospilal with a diagnosis of
                   laceration to abdominal wall, rectal foreign body (Per the Sgt report II ls papers rolled up In a ring) and
                   substance abuse. He received staples In the ER and they need lo be removed ln 10 days wllh star!•
                   strips applied after staple removal. VS ware taken and stable, Inmate reported his pain as 8/10.
                    Denied any olhar Injury or concerns other than his stomach. Gauze bandage on abdomen was dry and
                    intact, He has orders for now showers for 24 hours end change bandage dally. These tasks were
                    started In his chart. Inmate was given 18U 800mg BID and placed on the DSC list. He was also placed
                    in theiliiiliiliili>n  a 15 min watch for self harm. Scheduled for MH.


                       ~ 09/2612020 23:04
Case 1:21-cv-00129-RJS Document 10-7 Filed 12/28/21 PageID.176 Page 6 of 9




         Davis
         800 West State Street

                                                                  Fax

         ABREU, ANGEL CHRISTOPHER


         -
         398403



                    Inmate was brought out for a shower and blanket change out In ln1ake. I re-dressed his abdominal lee
                    that Is secured wllh staples. 4x4 gauze and mefix tape to secure the edges. No bleeding or redness




         "
                   noted at the site, There were multlple superllolal scratches all over the rest of his abdoman. Thay were
                   also cleaned and ten open to dry. Inmate took his medications. He stated that hiS thumbs on bOth
           Medical hands were numb. Ha believes II Is from the cuffs being on too tight last night. I told him he can
                   request to see the Or. If he wanted to. Hand grips equal and strong bilaterally. Cap refill < 3 Seo
                   bilaterally.


                      ~ 09/27/2020 ~0:16       J. RN
Case 1:21-cv-00129-RJS Document 10-7 Filed 12/28/21 PageID.177 Page 7 of 9




         Davis



                                   -                                                      -
         800 West State Street

         Telephone                                              Fax

         ABREU, ANGEL CHRISTOPHER
         398403



                     Inmate Is housed on a 30 minute suicide watch, Ha was oomptiant with VS and medications. Pain
                     8/10. Abdominal dressing dry and Intact. No other complaints.


           Medical     ~ 09/2912020 04:28     :. RN




                                                                                                    iNM.ATE COPY
Case 1:21-cv-00129-RJS Document 10-7 Filed 12/28/21 PageID.178 Page 8 of 9




         Davis


                                    -                                                     -
         800 West State Street

         Telephone                                              Fax


         ABREU, ANGEL CHRISTOPHER


        -398403



                     assistance from 3 deputies to attempt dressing change, IM was not compUant therefore no dreHing
                     change or vital signs completed at this time.


           Madloal     ~ Oll/21112020 12:44   J. RN




                                                                                                 INMATE COPY'
Case 1:21-cv-00129-RJS Document 10-7 Filed 12/28/21 PageID.179 Page 9 of 9




         Davis


                                      -
         800 West State Street

         Telephone                                               Fax

         ABREU, ANGEL CHRISTOPHER


         -
         398403




           Medical
                     per tasks, Inmate Abreu was given the opportunity to come to medical for a dressing change. The pod
                     personnel called me back and told me that Inmate Areu refused the opllon to come to medical, stating
                     he didn't neadlwant his dre!¼Slng changed. I advised the Pod that he will have the option again
                     tomorrow then,

                       l:!!) 1O/Oll/2020 14:31   .£. RN




                                                                                                     INMATE COPV·
